
Per curiam.
The court is of opinion, that the testimony in this case shews, that the petitioner has contracted a painful and dangerous disease, since his confinemet in jail, which disease was the'consequence of his having been for a long time confined in a very small, very damp, and very badly ventilated room, and which disease had-reduced him so low at the late term of the Circuit Superior Court of Albemarle, as to render it improper, in the opinion of that court, to put him upon his trial; and that, since the late term of that court, the petitioner has either contracted a new disease, or the old one has been so aggravated as to render it certain that his longer confinement must prove injurious to him, by greatly increasing his disease, and will, in all human probability, cause it to *706terminate fatally. The court is, therefore,, of opinion,, that the petitioner shews himself entitled to be bailed,, and ought to be admitted to bail, upon finding two or more sureties to the amount of 25,000 dollars, and being an infant, he is not to be required to enter into a recognizance himself.
Brown and Fry, J. dissented.
Note.—The state of the prisoner’s health appearing-to be such, that, probably, he could not now be safely removed, the court, therefore, did not order a habeascorpus to bring him before it, but only entered its; opinion on record, that he ought to be admitted to-bail; and then Thompson, J. admitted him to bail accordingly, in Albemarle.
